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UN|TED STATES DISTR!CT COURT

 

DISTRECT OF CONNECT!CUT
VALER|E MORRELL ) CiVlL ACT!ON
P!aintiff, )
§
) TRIAL B¥ JUR¥
v. ) DEMANDED
)
ENHANCED RECOVERY CON|PAN¥, LLC )
Defendant )
) FEBRUARY 9, 2011

 

COMPLAINT

1_ This is a suit brought under the Fair Debt Coitection Practices Act (“FDCPA”),
15 U.S.C. §§ 1692 et seq. and inctudes pendent cIaim brought under State law for
vioiation of the Connecticut Unfa§r Trade Practices Act (“CUTPA"), Conn. Gen. Stat. §§
42-1 10a et seq.

2. Piaintiff, Vaierie Morre|i, is a naturat person residing in Gui|ford, Connecticut
and is a consumer as defined by the FDCPA 15 U.S.C. § 1692a(3).

3. The defendant1 Enhanced Recovery Cornpany, E_LC (“ERC”), is a DeIaWare
Limited i_iability Company that is licensed by the Connecticut Departrnent of Banking as
a Consumer Coi|ection Agency and is a debt collector as defined by FDCPA §
1692a(6).

4. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d), 28

U.S.C. §§ 1331, 1367, and 1337.

 

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5. This Court has jurisdiction over ERC because lt engages in debt collection
Within Connecticut.

6. Venue in this Court is proper, because the P|aintiff is a resident and the acts
complained of occurred in this state.

7. ERC claimed that P|aintiff owed a consumer debt that Was assigned to ERC
for coliection purposes

8. ERC began contacting Ptaintitf in an attempt to collect the account and sent
her a collection letter regarding the account on or around January 3, 2011.

9. Around that same time, ERC on muitipie occasions calied Plaintiff’s motner’s
home and left messages stating that they Were a debt collector attempting to collect a
debt from Vaierie Nlorrell; Plaintiff had never resided at her mother’s horne.

10. The aforementioned message annoyed and upset Piaintift’s mother, and sne
cailed Plaintitf and complained to her about the debt collection cails she received from
ERC, and this caused Plaintiff shame and embarrassment

i'l.ERC has violated the FDCPA and CUTPA.

 

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WHEREFORE, the Piaintitf seeks recovery of actual damages (inciuding emotional
distress related damages) pursuant to 15 U.S.C. § 16921<; statutory damages pursuant
to 15 UXS.C. § 1692k; attorney’s fees and costs pursuant to 15 U.S.C. § 1692k; actual
damages, punitive damages, and attorney’s fees and costs pursuant to Conn. Gen.

Stat. § 42-1109; and such other relief as this Court deems appropriate

PLAINT¥FF, VALER!E MORRELL

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